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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                  CASE NO. 3:20cr40/MCR

SHELLEY E. JOHNSON

                                             /


                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there has been no timely objections, and subject to this Court’s

consideration of the Plea Agreement pursuant to Fed.R.Crim.P. 11(c)(3), the plea of

guilty of the Defendant, SHELLEY E. JOHNSON, to Counts One, Two, Three, Four,

Five, Six, Seven, Ten, Eleven, and Twelve of the Indictment is hereby ACCEPTED.

All parties shall appear before this Court for sentencing as directed.

      DONE and ORDERED this 3rd day of December 2020.



                                        s/   M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE
